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                                                                                                May 9, 2019

VIA ECF & FEDEX

The Honorable Esther Salas, U.S.D.J.
United States District Court
Martin Luther King, Jr. Federal Courthouse
50 Walnut Street
Newark, New Jersey 07101

          Re:      Celgene Corporation v. Synthon Pharmaceuticals Inc., et al.
                   Civil Action Nos. 18-10775 & 19-9737 (ES)(MAH)

Dear Judge Salas:

      This firm, together with Quinn Emanuel Urquhart & Sullivan, LLP, represents plaintiff
Celgene Corporation (“Celgene”) in the above-captioned actions.

        We are pleased to inform the Court that Celgene and Defendants Synthon
Pharmaceuticals Inc., Synthon B.V., Synthon S.R.O., and Alvogen Pine Brook LLC have
reached an amicable resolution of these matters. Accordingly, enclosed for Your Honor’s
consideration is a Consent Judgment which, subject to Your Honor’s approval, would dismiss
these cases with prejudice. If the enclosed Consent Judgment meets with the Court’s approval,
we respectfully request that Your Honor sign and have it entered on the respective dockets.

        Thank you for Your Honor’s kind attention to these matters.

                                                                                Respectfully yours,



                                                                                Charles M. Lizza

Enclosure

cc:     The Honorable Michael A. Hammer, U.S.M.J. (via ECF)
        All Counsel (via e-mail)




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      DELAWARE FLORIDA ILLINOIS MARYLAND MASSACHUSETTS NEW JERSEY NEW YORK PENNSYLVANIA WASHINGTON, DC
                                                      A DELAWARE LIMITED LIABILITY PARTNERSHIP
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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


CELGENE CORPORATION,

                       Plaintiff,                       Civil Action No. 18-10775 (ES)(MAH)
                                                        Civil Action No. 19-9737 (ES)(MAH)
       v.
                                                        (Filed Electronically)
SYNTHON PHARMACEUTICALS INC.,
SYNTHON B.V., SYNTHON S.R.O., and
ALVOGEN PINE BROOK LLC,

                       Defendants.


                                     CONSENT JUDGMENT

               Plaintiff Celgene Corporation (“Celgene”) and Defendants Synthon

Pharmaceuticals Inc., Synthon B.V., Synthon S.R.O., and Alvogen Pine Brook LLC

(collectively, “Synthon”), the parties in the above-captioned action, hereby stipulate and consent

to entry of judgment and an injunction in this action as follows:

               IT IS this __ day of ____________, 2019:

               ORDERED, ADJUDGED, AND DECREED as follows:

               1.      This Court has jurisdiction over the subject matter of the above action and

has personal jurisdiction over the parties for purposes of this action only, including as set forth

below in Paragraph 6 of this Consent Judgement.

               2.      As used in this Consent Judgment, the term “Synthon ANDA Product”

shall mean a drug product manufactured, imported, sold, offered for sale, marketed, or

distributed pursuant to Abbreviated New Drug Application No. 210232 in or for the United

States of America, including its territories, possessions, and the Commonwealth of Puerto Rico.
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               3.      As used in this Consent Judgment, the term “Patents-in-Suit” shall mean

U.S. Patent Nos. 8,198,262; 8,673,939; 8,735,428; 8,828,427; 9,993,467; 10,093,647;

10,093,648; and 10,093,649.

               4.      Until expiration of the Patents-in-Suit, Synthon, including any of its

successors and assigns, is enjoined from infringing the Patents-in-Suit, on its own part or through

any third party on its behalf, by making, having made, using, selling, offering to sell, importing,

or distributing of the Synthon ANDA Product in or for the United States of America, including

its territories, possessions, and the Commonwealth of Puerto Rico, unless and to the extent

otherwise specifically authorized by Celgene, and is further enjoined from assisting or

cooperating with any third parties in connection with any infringement of the Patents-in-Suit by

any such third parties in connection with making, having made, using, selling, offering to sell,

importing, or distributing of any pomalidomide-containing drug product that references NDA

204026 in or for the United States of America, including its territories, possessions, and the

Commonwealth of Puerto Rico, unless and to the extent otherwise specifically authorized by

Celgene.

               5.      Compliance with this Consent Judgment may be enforced by Celgene and

its respective successors in interest or assigns.

               6.      This Court retains jurisdiction to enforce the terms of this Consent

Judgment and to enforce and resolve any disputes related thereto.

               7.      All claims, counterclaims, affirmative defenses and demands in this action

are hereby dismissed with prejudice and without costs, disbursements or attorneys’ fees to any

party.




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               8.     Nothing herein prohibits or is intended to prohibit Synthon from

maintaining any “Paragraph IV Certification” pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV) or

pursuant to 21 C.F.R. § 314.94(a)(12) with respect to the Patents-in-Suit.

               9.     Nothing herein restricts or is intended to restrict the U.S. Food and Drug

Administration from approving Abbreviated New Drug Application No. 210232 or the Synthon

ANDA Product.

                                                            ____________________________
                                                            Hon. Esther Salas, U.S.D.J.




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We hereby consent to the form and entry of this Judgment:

Dated: May 9, 2019

By:   s/ Charles M. Lizza                     By:   s/ Tedd W. Van Buskirk
      Charles M. Lizza                              Paul H. Kochanski
      William C. Baton                              Tedd W. Van Buskirk
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      Attorneys for Plaintiff                       Attorneys for Defendants
      Celgene Corporation                           Synthon Pharmaceuticals Inc., Synthon
                                                    B.V., Synthon S.R.O., and Alvogen Pine
                                                    Brook LLC




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